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QNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

 

Democratic National Committee

Plaintiff

vs_ Case No.: 1 : 18-cv-03501~JGK

Tl\e Russian Federation, et al.

Defendant

AFF]])AVIT OF SE 3 § ICE

l, Roger Padilla, a Private Prooess Server, being duly sworn, depose and say:
Thatl am over the age of eighteen years and not a party to or otherwise interested in this action.

That Ihave been duly authorized to make service of the Summons, Complaint, Eleetronic Case Filing Rules & lnstmctions,
bidividual Praotices of lodge Iolm G. Koeltl in the above entitled case.

That on 06/13/2018 at 8:51 PM, I served Ernin Araz Agalarov With the Summons, Complai.nt, Electronic Case Filing Rules &
Insf:ruotions, Individual Praotioes of lodge Iohn G. Koeltl at 98 Aoderson Avenue, Dernarest, New Jersey 07627, by serving Inga
Madzule, live In nanny of Emin Araz Agalarov, a person of suitable age and discretion, who stated that lie/she resides therein with
Emin Araz Agalarov. `

Inga Madzule is described herein as:

Gender:Female Race/Skin:Wllite Age:40~45 Weight: 150 Height:5‘6" Hair:Bionde GIasses:No

l declare under penalty of perjury that this information is true.

 

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C|ient Ref Number:N/A
Job #: 1546290

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